Case 6:18-cv-01684-WWB-EJK Document 38 Filed 06/08/20 Page 1 of 5 PageID 507




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

                              Case No. 6:18-cv-1684-Orl-41TBS

KEESHA RICHARDSON, FIDELA
DENNY, and MARIA HUMPHREYS,

      Plaintiffs,

vs.

OFFICE OF SEMINOLE COUNTY
TAX COLLECTOR,

      Defendant.
                                               /

  NON-PARTY RAY VALDES’ NOTICE OF FILING AFFIDAVIT OF J. RAYMOND
   VALDES IN SUPPORT OF OBJECTION TO MAGISTRATE JUDGE’S ORDER
              DENYING MOTION FOR PROTECTIVE ORDER

       Non-party, RAY VALDES (“Mr. Valdes”), by counsel, hereby gives notice of its filing of

the attached Affidavit of Mr. Valdes in Support of his Objection to the Magistrate’s Order

Denying his Motion for Protective Order in regard to the Subpoena to Testify at a Deposition in

a Civil Action.

       Dated: June 8, 2020.


                                                   Respectfully submitted,

                                                   /s/ Cameron S. Frye
                                                   BART R. VALDES
                                                   Florida Bar Number 323380
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                                                   Florida Bar Number 105142
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Case 6:18-cv-01684-WWB-EJK Document 38 Filed 06/08/20 Page 2 of 5 PageID 508




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                                     2
Case 6:18-cv-01684-WWB-EJK Document 38 Filed 06/08/20 Page 3 of 5 PageID 509
Case 6:18-cv-01684-WWB-EJK Document 38 Filed 06/08/20 Page 4 of 5 PageID 510
Case 6:18-cv-01684-WWB-EJK Document 38 Filed 06/08/20 Page 5 of 5 PageID 511
